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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CHELSEY GOSSE, on her own behalf )
and on behalf of other persons similarly )
situated,                                ) Civil Action No. 3:20-cv-01446-RDM
                                         )
                   Plaintiffs            ) Hon. Robert D. Mariani
                                         )
                                         )
       v.                                ) Electronically Filed
TRANSWORLD SYSTEMS, INC.; U.S. )
BANK, NA.; RATCHFORD LAW                 )
GROUP, P.C.; NATIONAL                    )
COLLEGIATE STUDENT LOAN                  )
TRUST 2007-3,                            )
                                         )
                   Defendants

                  NATIONAL COLLEGIATE STUDENT
               LOAN TRUST 2007-3’S MOTION TO DISMISS


             Defendant National Collegiate Student Loan Trust 2007-3

(“National”) moves to dismiss Plaintiff’s Complaint for failure to state a claim

upon which relief can be granted pursuant to Federal Rule of Civil Procedure

12(b)(6). Plaintiff’s claim against National is based on the Unfair Trade Practices

Consumer Protection Law but Plaintiff does not, and cannot, plead facts to state a

claim. Plaintiff cannot plead facts to show that she justifiably relied on National’s

alleged conduct or representation and that she suffered harm as a result of that

reliance. To the extent Plaintiff asserts any other claims against National, they
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similarly fail. National will file its Brief in Support within 14 days pursuant to

Local Rule 7.5.

                                        Respectfully submitted,


Dated: October 26, 2020          By: /s/ Justin G. Weber
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             CERTIFICATE PURSUANT TO LOCAL RULE 7.1

             Defendant National Collegiate Student Loan Trust 2007-3’s counsel

requested Plaintiff’s concurrence in the relief requested in this Motion. Plaintiff’s

counsel does not concur in the relief requested.



                                         /s/ Justin G. Weber
